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                             UNITED STATES DISTRICT COURT
                                        FOR THE
                                 DISTRICT OF COLUMBIA

U.S.A. vs. CRASE, Dalton Ray                                                   Docket No.: 1:21CR00082-001



                 The Court may enter a minute order for any of the following options:


Warrant Requests Only - To help ensure the safety of law enforcement officers while a warrant is active, we ask that
you not enter a minute order. Rather, please print and sign this document and, if you concur with the request for a
warrant, provide all pages to your Court Room Deputy Clerk who will enter a sealed minute order and process the
warrant for service without alerting the public or the offender. After the warrant is executed, the Deputy Clerk will
unseal the warrant unless otherwise directed by the Court.

THE COURT ORDERS:

1. 
   X Concurs with the recommendation of the Probation Office to “modify the conditions of
     supervision to include location monitoring – home detention for 60 days and vacate the
     intermittent confinement.”

2.  No action

3.  Issuance of a warrant and enter into NCIC and schedule a hearing upon execution

4.  Issuance of a summons and schedule a hearing

5.  Hearing to modify, revoke, or terminate supervised release shall be held before a magistrate
     judge for the preparation of a report and recommendation to the district judge. This
     designation will remain for the duration of the case, and the designated magistrate judge
     will respond to all subsequent requests from the probation office unless otherwise ordered
     by the district judge.

6.  Other




                                   _______________________________
                                             Carl J. Nichols
                                       United States District Judge


                                                 March 23, 2022
                                             __________________
                                                     Date
